         Case 1:20-cr-00430-MKV Document 23 Filed 10/19/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

                           Plaintiff,
                                                               1:20-cr-430-MKV
                    -against-
                                                                    ORDER
 DAMIEN MATTHEWS,

                           Defendant.

MARY KAY VYSKOCIL, United States District Judge:



The Court will hold a status conference in this case on Wednesday, November 4, 2020 at 10am.
All parties are instructed to call 888 278-0296 and use access code 5195844. The Court will join
once all parties are on the line.




SO ORDERED.

                                                    _________________________________
Date: October 19, 2020                                    MARY KAY VYSKOCIL
      New York, NY                                        United States District Judge
